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                               COURTROOM MINUTE SHEET
                               SENTENCING PROCEEDINGS

Date 03/12/2018                      Case No. 4:16-cr-00502-HEA
UNITED STATES OF AMERICA vs. Deborah Pierce
Judge HENRY E. AUTREY                           Court Reporter Angela Daley
Deputy Clerk A. Shepard                         Interpreter
Assistant United States Attorney(s) Thomas C. Albus
Attorney(s) for Defendant Adam D. Fein & Marc Johnson
Probation Officer

✔ Defendant/Parties present for imposition of sentence.
__
✔ No objections to presentence report filed by either party.
__
__ Objections to presentence report filed by __ Defendant __ USA
__ Objections to presentence report heard and __ Granted/sustained __ Denied           as follows:



✔ Presentence Report adopted/accepted by Court as findings of fact and filed under seal.
__
__ Government’s Motion is __ granted __ denied

__ Letters received regarding defendant received and reviewed by the Court.
__ Letters to be made part of the record and filed Under Seal.
✔ Sentence imposed (see judgment)
__
____________________________________________________________________________
____________________________________________________________________________
____________________________________________________________________________
__ The Court makes the following recommendations to the Bureau of Prisons:



__ Ordered that Count(s)                                    dismissed on motion of AUSA
__ Defendant remanded to custody of the USMS
__ Defendant granted a voluntary surrender to the institution/USMS for incarceration as:
__ Notified by USMS.      __ Surrender date ordered:
✔ Defendant is released on Probation/Supervised Release pending processing by USMS.
__
✔ Witness testimony (see witness list) __ Exhibits returned to/retained by counsel (see exhibit list)
__
__ Certificate of Compliance with Local Rule 12.07(A) provided to defendant’s attorney

Proceedings commenced 11:08AM                  Concluded 12:16PM
